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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO.
                                                  :
              v.                                  :    MAGISTRATE NO. 22-MJ-229
                                                  :
 MACSEN RUTLEDGE,                                 :    VIOLATIONS:
                                                  :    18 U.S.C. § 1752(a)(1)
                        Defendant.                :    (Entering and Remaining in a Restricted
                                                  :    Building)
                                                  :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Violent Entry and Disorderly Conduct in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)

                                     INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, MACSEN RUTLEDGE

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                          COUNT TWO

       On or about January 6, 2021, within the District of Columbia, MACSEN RUTLEDGE

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, engage in disorderly and disruptive conduct in and within such proximity

to a restricted building and grounds, that is, any posted, cordoned-off and otherwise restricted area

within the United States Capitol and its grounds where the Vice President was temporarily visiting,
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when and so that such conduct did in fact impede and disrupt the orderly conduct of Government

business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, within the District of Columbia, MACSEN RUTLEDGE

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt and disturb

the orderly conduct of a session of Congress and either House of Congress and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress and either

House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                        COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, MACSEN RUTLEDGE

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney
                           DC Bar No. 481052

                     By:
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